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               TEXAS RIOGRANDE LEGAL AID, INC.
                                   Austin Office
                                 4920 North IH-35
                                Austin, Texas 78751
                    Telephone (512) 374-2700, Fax (512) 447-3940

December 20, 2019

Hon. Lyle Cayce, Clerk of Court
United States Court of Appeals
Fifth Circuit
Office of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

  Re: Petitioners’ Supplemental Letter Brief, No. 19-60558

Dear Hon. Lyle Cayce, Clerk of Court:

      Petitioners file this supplemental letter brief in response to the Court’s

request to explain the federal statutes which provide a cause of action for the relief

they seek.

      First, Section 717r(d)(1) of the Natural Gas Act establishes that this Court

has “original and exclusive jurisdiction over any civil action for the review of an

order or action of a … State administrative agency acting pursuant to Federal law

to issue, condition, or deny any permit” for a natural gas facility. 15 U.S.C. §

717r(d)(1); see also Pet’rs Br. 1. In two recent cases, the Third Circuit has

recognized that this provision “is quite capacious” in the review that it confers and

has held that it allows the reviewing federal circuit court to vacate or remand if it
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determines the final agency action violated applicable state law. Delaware

Riverkeeper Network, et al., v. Penn. Dept. of Env’l Protection, et al., 903 F.3d 65,

78 (3d Cir. 2018), cert. denied, 139 S. Ct. 1648 (2019); see Township of

Bordentown, New Jersey v. FERC, 903 F.3d 234, 271-72 (3d Cir. 2018)

(remanding “with instructions to reconsider the petitioners’ request” for an

administrative hearing because the state agency “violated New Jersey law by

unreasonably denying the petitioners’ request for such a hearing”).

      Second, the federal Administrative Procedure Act (“APA”) provides the

cause of action and remedies available to Petitioners for “[a]gency action made

reviewable by statute.” 5 U.S.C. § 704; see 5 U.S.C. § 706 (“The reviewing court

shall … hold unlawful and set aside agency action…”) In similar cases reviewing

agency actions granting permits for natural gas infrastructure under § 717r(d)(1),

both the Third and Fourth Circuits held that the plain language of the Natural Gas

Act combined with the Administrative Procedure Act provide a broad scope of

review and remedies, including the ability to remand or vacate the agency’s final

action. Delaware Riverkeeper, 903 F.3d at 78 (“The provision of the Natural Gas

Act that actually grants us jurisdiction, 15 U.S.C. § 717r(d)(1), is quite capacious.

It empowers us to hear “any civil action” seeking “review” of federal permits

required by interstate pipelines. And ordinarily, when such agency action is “made

reviewable by statute,” 5 U.S.C. § 704, the Administrative Procedure Act


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authorizes a broad scope of review, without limiting courts to considering only

federal law, see id. § 706.”); Sierra Club v. U.S. Dep’t of the Interior, 899 F.3d

260, 295 (4th Cir. 2018) (“Respondents argue that this Court lacks authority to

vacate the agency actions under the Natural Gas Act. However, Respondents’

position is contrary to the plain text of the Natural Gas Act.… in this case, the

Natural Gas Act’s judicial review provision does not modify the APA’s default

rule, which empowers this Court to “hold unlawful and set aside agency action.”

See 5 U.S.C. § 706(2)(A).”)

      By contrast, another section of the Natural Gas Act, § 717r(d)(3), does not

apply to this case because the underlying agency action here—TCEQ’s order

denying Petitioners’ hearing requests and granting Rio Grande LNG’s air permit—

would not “prevent the construction, expansion, or operation of the facility.” 15

U.S.C. § 717r(d)(3). In Delaware Riverkeeper and Sierra Club, both the Third and

Fourth Circuits explicitly considered and rejected the argument that § 717r(d)(3)

limits the Court’s review or remedies available to Petitioners in analogous

situations granting permits. See Sierra Club, 899 F.3d at 295 (“On its face, §

717r(d)(3) only applies to an agency action that “would prevent the construction”

of the natural gas facility…. Here, the agency decisions do the opposite by

enabling pipeline construction, and the provision is therefore inapplicable.”)

(internal citations omitted); Delaware Riverkeeper, 903 F.3d at 78 (“Nothing in §


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717r(d)(3) says differently; it simply requires reviewing courts to apply a particular

remedy when certain conditions are met. It says nothing about other circumstances,

and we will not imply from the statute’s silence that Congress intended to restrict

the language of its text. Congress does not “hide elephants in mouseholes.”)

(internal citations omitted).

      Therefore, the Natural Gas Act and the APA provide the cause of action for

this Court to review TCEQ’s order and to grant the following relief requested by

Petitioners:

     1) Petitioners believe the most appropriate remedy for this Court to enter is a
        remand to TCEQ of its order denying Petitioners’ hearing requests with
        instructions to refer the Rio Grande LNG application for a contested case
        hearing on the substantive issues raised about the permit. Cf. Township of
        Bordentown, 903 F.3d at 271-72. TCEQ agrees this remedy is available in
        this Court. See Resp’ts Br. at 21 (“If the Court determines that TCEQ erred
        in denying Petitioners a contested-case hearing, the matter must be
        remanded so that a hearing can be conducted.”)

     2) Alternatively, should the Court proceed to review the merits of TCEQ’s
        issuance of the air permit to Rio Grande LNG, Petitioners request that the
        Court vacate TCEQ’s issuance of the permit because it does not comply
        with federal and state requirements. Cf. Sierra Club, 899 F.3d at 295
        (“[W]e conclude that the correct remedy is to vacate the ITS and right-of-
        way permit.”); Berkshire Envtl. Action Team Inc. v. Tenn. Gas Pipeline
        Co., 851 F.3d 105, 112-13 (1st Cir. 2017) (holding that the court had
        jurisdiction to review the merits of the permit under the Natural Gas Act,
        even though Petitioners had not participated in an adjudicatory hearing
        under state law).



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                                 Respectfully submitted,

                                 s/ Erin Gaines
                                 Erin Gaines
                                 SBN 24093462
                                 TEXAS RIOGRANDE LEGAL AID
                                 4920 N. I-35
                                 Austin, Texas 78751
                                 egaines@trla.org
                                 t: (512) 374-2739
                                 Counsel of Record for Petitioners




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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 20th day of December, 2019, an electronic copy

of the foregoing letter brief was filed with the Clerk of Court for the United States

Court of Appeals for the Fifth Circuit using the appellate CM/ECF system, and that

service will be accomplished by the appellate CM/ECF system to the following

counsel of record:

Toby Baker                                Beth W. Petronio
toby.baker@oag.texas.gov                  beth.petronio@klgates.com
Mark A. Steinbach                         K&L Gates, LLP
mark.steinbach@oag.texas.gov              1717 Main Street
Office of the Attorney General,           Suite 2800
Environmental Protection Division         Dallas, TX 75201
PO Box 12548, MC-066
Austin, Texas 78711
                                          Counsel for Intervenor Rio Grande
Counsel for Respondent TCEQ               LNG, LLC



                                             s/ Erin Gaines
                                             Erin Gaines
                                             Counsel of Record for Petitioners




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                     CERTIFICATE OF COMPLIANCE

      1. This letter brief complies with the instructions from the Court because it

contains 943 words, as determined by the word-count function of Microsoft

Word, excluding the parts of the letter brief exempted by Federal Rule of

Appellate Procedure 32(f) and Fifth Circuit Rule 32.2.

      2. This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Times New Roman font.



                                            s/ Erin Gaines
                                            Erin Gaines
                                            Counsel of Record for Petitioners




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